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                              UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF FLORIDA

                                        CASE NO. 16-cv-61868

 ANDRAMEDIA ROBINSON,

                 Plaintiff,

 v.

 CITY OF PLANTATION,

             Defendant.
 __________________________________/

                                       NOTICE OF REMOVAL

         Defendant, CITY OF PLANTATION ("City"), by and through undersigned counsel and

 pursuant to 28 U.S.C. §1441 and 28 U.S.C. §1446, removes this action from the County Court in and

 for Broward County, Florida, to the United States District Court for the Southern District of Florida

 and states:

         1.      Plaintiff has sued the City in her Statement of Claim for alleged deprivations of her

 federally protected rights via 42 U.S.C. § 1981; 42 U.S.C. § 1983; 42 U.S.C. § 1985; 42 U.S.C. §

 14141; and 18 U.S.C. §241, 242.

         2.      The first pleading giving rise to a right to remove the action was Plaintiff's Verified

 Statement of Claim served on Defendant, CITY OF PLANTATION, on July 18, 2016.

         3.      Pursuant to 28 U.S.C. §§ 1331 and 1343(a)(3), this Court has original jurisdiction

 over this action, as this action presents a "federal question" and seeks to redress the alleged

 deprivation of the Plaintiff's civil rights.

         4.      Pursuant to 28 U.S.C. §1441(a), 28 U.S.C. §1441(b), and 28 U.S.C. §1441(c), this

 action is properly removable to this Court.
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        5.      A copy of the Verified Statement of Claim together with copies of the papers filed

 in this proceeding with the Clerk of the Court for the County Court in and for Broward County,

 Florida, are attached as Exhibit "A."

        6.      Venue is proper in this Court because the alleged conduct occurred within the

 Southern District of Florida.

        7.      Defendant has filed a notice of removal with the Clerk of the Court for the County

 in and for Broward County, Florida, in accordance with 28 U.S.C. §1446(d).

                                 CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on this 5th day of August, 2016, I electronically filed the foregoing
 document with the Clerk of Court by using the CM/ECF system. I further certify that I either mailed
 the foregoing document and the Notice of Electronic Filing by first class mail to any non CM/ECF
 participants and/or the foregoing document was served via transmission of Notice of Electronic
 Filing generated by CM/ECF to any and all active CM/ECF participants.


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                                              BY: s/Christopher J. Stearns
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                                                    CHRISTOPHER J. STEARNS
                                                    Florida Bar Number: 557870
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                                     SERVICE LIST

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